                           UNITED STATES DEPARTMENT OF JUSTICE
                           OFFICE OF THE UNITED STATES TRUSTEE
                                   DISTRICT OF DELAWARE

 In re:                                                :   Chapter 11
                                                       :
 DORMIFY, INC.,                                        :   Case No. 24-12634 (TMH)
                                                       :
                                                       :
                                                       :   NOTICE OF APPOINTMENT OF
                         Debtor.                       :   COMMITTEE OF UNSECURED
                                                       :   CREDITORS


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned case:

          1.   New Sega Home Textiles North America, Inc., Attn: Guyer McCracken, 138 Main Street,
               Suite 302, East Rockaway, NY 11518, Phone: 513-289-7566; Email:
               guyer.mccracken@newsegahome.com

          2.   Simply Sisters Greek, Attn: Janet Coen, 3430 FM 2446, Franklin, TX 77856, Phone: 254-
               760-3665, Email: janet@simplysistersgreek.com

          3.   Jonathan Y Designs Inc., Attn: Adam Sayer, 185 Madison Avenue, 17th Floor, New York,
               NY 10016, Email: adam.sayer@jonathany.com




                                               ANDREW R. VARA
                                               United States Trustee, Region 3

                                                /s/ Jonathan W. Lipshie
                                               JOSEPH J. MCMAHON, JR.
                                               ASSISTANT UNITED STATES TRUSTEE

DATED: December 11, 2024




Attorney assigned to this Case: Jonathan W. Lipshie, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: Maria Aprile Sawczuk, Esq., Phone: (302) 444-6710
